            Case 1:23-cv-01198-CJN Document 29 Filed 10/09/23 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
HERITAGE FOUNDATION &                )
MIKE HOWELL                          )
                                     )
                  Plaintiffs,        )
                                     )
v.                                   )  Case No. 23-cv-1198 (CJN)
                                     )
U.S. DEPARTMENT OF HOMELAND          )
SECURITY                             )
                                     )
                  Defendant.         )
____________________________________)

                THIRD DECLARATION OF SAMUEL EVERETT DEWEY

       1.       My name is Samuel Everett Dewey. I am counsel to Plaintiffs in this action.

       2.       I make this declaration to provide the Court with additional information relevant

to Plaintiffs’ Cross-Motion for Summary Judgment and Opposition to Defendant’s Motion for

Summary Judgment (ECF No. 23).

       3.       On or about June 4, 2023, Counsel for Plaintiffs again urged Defendant

component Customs and Border Protection (“CBP”) to withdraw its Glomar as to whether the

Duke of Sussex had ever lawful entered the United States. CBP did not do so.

       4.       Attached hereto as Exhibit 1 is a true and correct copy of Defendant Department

of Homeland Security’s Headquarters’ (“DHS HQ”) determination as to the Request dated June

13, 2023.

       5.       Attached hereto as Exhibit 2 is a compilation of news articles related to the Duke

of Sussex and the Counselor of State Act, 2022.
            Case 1:23-cv-01198-CJN Document 29 Filed 10/09/23 Page 2 of 2




       6.       Attached hereto as Exhibit 3 is a true and correct copy of a press release from the

office of United States Representative Greg Steube announcing the introduction of the SPARE

Act dated August 8, 2023 and an X/Twitter post announcing the same.

       7.       Attached hereto as Exhibit 4 is a true and correct copy of H.R. 5178, 118th Cong.,

the SPARE Act.

       8.       Attached hereto as Exhibit 5 is a compilation of news articles covering the

introduction of the SPARE Act.

       9.       Attached hereto as Exhibit 6 is a true and correct copy of correspondence between

counsel for Plaintiffs and counsel for Defendants from June 7, 2023 through June 9, 2023.

       10.      Attached hereto as Exhibit 7 is a true and correct copy of a compilation of

reporting on the June 6, 2023 preliminary injunction hearing in this case.



I declare under the penalty of perjury that the foregoing is true and correct.



   October 9, 2023                                             /s/ Samuel Everett Dewey
                                                                 Samuel Everett Dewey
